                                                                                               DJppr, oFFIcEU,s, ajsr.cok
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                     FO R TH E W E STERN D ISTRICT O F W RGIN IA                                     BYJu    .
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                                 RO AN O C D IW SIO N
                                                                                                            D
SE LEN A SH AN N ON W ALTE RS,

        Plaintiff,                                           CivilAction N o.:7:18cv000340

V.
                                                             By: M ichaelF.U rbansld
TH E BAN K O F N EW YO RK                                    ChiefUnited StatesDistrictJudge
M ELLO N TRU ST COM PAN Y,N A ,c1PL                  .




        D efendants.


                                   M EM O RAN D U M O PIN ION

        Thisacdon,flled by plaintiffSelena Shannon W altetsagainsttheBank ofN ew Y ork

M ellon Tm stCompany,N.A.,andTrusteeSerdcesofVitginia,LiC in theCitcuitCourtfor
the CityofRoanoke,concernsthe foreclosureofW altets'sproperty and seeksdeclaratory

relief.Defendantsflledanoéceofremovalonltlly13,2018,allegingdiversityjtuisdicdon.
Onltzly20,2018,defendantTrusteeServicesofVirginia,LLC ftledamodontodisnaiss
pbinéff's.cllimsagainstitwithprejudicepursuanttoRule129$(6)oftheFederalRulesof
CivilProcedute.O n August3,2018,W altersflled a nodce ofvoluntary dism issalwithout

ptejudiceofherclnim againstdefendantTmsteeSerdcesonly,putsuanttoRule
41(a)(1)(A)(i).1TrusteeServicesobjectstoW alters'szequestfordismissal.
        Rule41(a)(1)(A)(i)providesthataplaindffmayclismissan action withoutcourtordez
by ftling anodce ofclismissalbeforethe opposing partyserveseitheran answeroram odon

fozsummaryjudgment.lnitsobjecéon,TrusteeSerdcesarguesthatitspendingmodon to

1W altezsdid notrespondto thepenclingm odon to clism issbefore61inghernodceofvoluntaty dism issal.


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dismissasksthe courtto considerdocllm entsreferted to butnotattached to theplaindff's

com plaintand,in orderto considerthose docum ents,thecourtm ustconvertthe m odon to

amodon forsummaryjudgmentpursuanttoRule12(d).TmsteeServicesinsistsdismissal
withoutpzejudicepursuanttoRule41(a)(1)(A)(i)isimproperbecausethecout'tisreqlnitedto
treatitsmotiontodisrnissasamodon forsummaryjudgment.
        TheFourth Circtzithad occasion to considerthisveryatgumentin FinleyLinesJoint
ProtecdveBoard v.NorfolkSouthern Co oraéon,109F.3d993(4th Cir.1997).Asin the
instantcase,plaindffftled anodceofvoluntarydisnaissalwithoutprejudicepursuanttoRule
41(a)(1)(A)(i)whiletherewasamodontodismisspencling.DefendantNorfollcSouthern
m oved to vacate the notice ofvoluntary dismissal,arguing plaindffw asnotendtled to

voluntarily dism issthecaseputsuantto Rule41 becauseN orfolk Southetn'sm otion to

dismissandsupporéngafhdavitsconsétutedamoéonforsummaryjudgmentputsuantto
Rule 12.2Thedistdctcourtagreed,granted N orfolk Southern'sm oéon to vacate the nodce

ofvoluntary dismissal,and furthergranted N orfolk Southern'sm odon to clismissand

dismissed plaintiff'scllimswith prejudice.109F.3d at994.
        Onappeal,theFollf-thCircuitreversed,holdingaRule124$(6)modontodisnlissis
notconvertedintoamodon fotsummaryjudgmentautomadcallyatthetimeitisserved
sim ply becausem attersoutside the pleadingsareattached thereto.ld.at995.Rather,Rule

12(d)plainlygivesthecourtcliscretion to determinewhetherornotto excludematters
outside ofthepleadings.1d.at996.Theruleexpressly statesthatam otion to dism iss
                 /


2Thelanguagereferredtoi!
                       zEtl:
                           ILC-
                              yasappeaG gitzRule12$)(6)now appearsinRule12(d).Itprovides:Tflf,ona
motionmzdezRule126)(6)oz12(c),mattersoutsidethepleadingsarepresentedtoandnotexcludedbythecourqthe
modonmustbetzeatedasonefors'lmmaryjudgmentunderRule56.Al1paoesmustbegivenareasonableoppoemity
to presentallthe m atedalthatispertinentto them odon.''

                                                          2

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supportedbysuchmaterialsshallbetreatedasamodonforsummaryjudgmentolllywhen
them aterialsaze ffpresented to and notexcluded by the courti':them ere subnnission of

extraneousmaterialsdoesnotitselfconvertaRule12q$(6)modonintooneforsllmmary
judgment.1d.at995-96 (citing21JamesW m.Moore,Moore'sFederalPractice! 12.09g31
(2ded.1996)).Thezulealsozeq''itesaco'
                                    urttoprovidethepazdeswithnoéceofits
intendontotteatamotiontoclismissasonefors'pmmaryjudgmentand <<areasonable
opporttznityto presentallthematerialthatispertinenttothemodon.''Fed.R.Civ.P.12(d);
Ett7-e-y,109F.3dat995.Thus,<<aRule129$(6)moéontodismisssupportedbyextraneous
materialscannotberegarded asoneforsummaryjudgmentuntilthedistrictcourtactsto
convertthem odon byindicating itwillnotexclude from itsconsideration ofthe m otion the

suppordng extraneousm aterials.''109 F.3d at997.Thecourtzeasoned:

             Rule41(a)(1)(i)itselfprovidesadefendantwho wishesto Tfavoid
             waséng time ormoney''and Tfpzeclude future prejudice to its
             interests''with a sim ple rem edy to preventa plqintifffrom sua
              s onte disnlissing an acdon without prejudice:tlae defendant
              can file an answer or move for s'lmmary judgment. If a
              defendantfails to pursue thisrem edy,itcannotcircumventthe
              rule sim ply by serving the plaintiffwith a m otion to dism iss,
              supported by extraneous m aterials.A plaindffconfronted with
              such aresponseisfreetoitwokeRule41(a)(1)(i).
Id.(internalcitationsomitted).
       Based on the Fourth Cizcuit'sholding in Finle ,the courtwilloverruleTrustee
                                                                                 I

Serdces'sobjection to plaintiff?srequestfozdisnlissal.W alters'sRule41noticewasfiled
beforeTrusteeServicesserved eitheran answerormotion forsummaryjudgment,and
W altersisentitled to distnisssua s onte herclnim sagainstTnzstee Serdceswithout
   '
Preludice.



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    An ordetwillbeentered to thateffect.


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                                     /J                     .



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